Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 1 of 71 PagelD #: 2229

EXHIBIT 1
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 2 of 71 PagelD #: 2230

From: Jason Xu <jason.xu@rimonlaw.com>

Sent: Sunday, September 10, 2023 10:13 PM

To: Lewis, Douglas; Schenerman, Jolie

Ce: Nielsen_TVision_team; Palapura, Bindu A.; Moore, David E.; nhoeschen@shawkeller.com;

Brown, Andrew L.; Eric Cohen; Michael F. Heafey; arussell@shawkeller.com

Subject: RE: Nielsen/ TVision: [a

CAUTION: This message originated outside of Kelley Drye and was sent by: jason.xu@rimonlaw.com

Doug,
TVision disagrees with your position and will not provide the discovery you requested.

That being said, there may be some miscommunication regarding my earlier email. TVision does not plan to and will not

use a for any purpose in this matter.

| believe this should resolve your concern.

Best,
Jason

From: Lewis, Douglas <DLewis@KelleyDrye.cam>

Sent: Sunday, September 10, 2023 1:59 PM

To: Jason Xu <jason.xu@rimonlaw.com>; Schenerman, Jolie <JSchenerman@KelleyDrye.com>

Cc: Nielsen_TVision_team <Nielsen_TVision_team@KelleyDrye.com>; Palapura, Bindu A.
<bpalapura@potteranderson.com>; Moore, David E. <dmoore@potteranderson.com>; nhoeschen@shawkeller.com;
Brown, Andrew L. <abrown@potteranderson.com>; Eric Cohen <eric.cohen@rimonlaw.com>; Michael F. Heafey
<michael.heafey@rimonlaw.com>; arussell@shawkeller.com

Subject: RE: Nielsen/ TVision:

Jason,

Since you will not represent that you will not use for any purpose in this matter, we will need discovery

about a. Mir. Sidhu testified that i was most knowledgeable about [. In addition, Mr.

Sidhu repeatedly testified that he did not know the details about EE, including at least:

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3. Whether [il 0cks <t
4. Whether [I uses <r as

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Moreover, Mr. Sudhu was designated for topics that would cover |, including at least topics 5 and 6. He
was, however, unprepared to testify about it.

Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 3 of 71 PagelD #: 2231

In addition, TVision failed to produce responsive documents about {EE including in response to at least RFPs
1-3, 7-8, 13-14, 44, and 97. Request Nos. 1-3, 7-8, 13-14 are not limited to production systems. We have repeatedly
received assurances from TVision’s counsel that they have not limited discovery to the [An
identified in Nielsen’s infringement contentions. Moreover, Nielsen’s Request No. 44 seeks documents that include
those related to (44. All Documents concerning any attempts by TVision to design around, avoid the use
of, or avoid infringing any of the Nielsen Patents-in-Suit.”). And given your unwillingness to agree not to use a
WM for any purpose in this case, documents relating to | would also be responsive to Request No. 97.

We need TVision’s documents relating to [EE immediately and to schedule a deposition of [IM shortly
thereafter. If you will not agree to this, please let us know when you and your local counsel are available for a meet and
confer so we can ask the Court for relief.

DOUGLAS LEWIS

Kelley Drye & Warren LLP
Tel: (312) 857-7073

From: Jason Xu <jason.xu@rimonlaw.com>

Sent: Thursday, September 7, 2023 9:11 PM

To: Lewis, Douglas <DLewis@KelleyDrye.com>; Schenerman, Jolie <JSchenerman@KelleyDrye.com>

Cc: Nielsen_TVision_team <Nielsen TVision team@KelleyDrye.com>; Palapura, Bindu A.
<bpalapura@potteranderson.com>; Moore, David E. <dmoore@potteranderson.com>; nhoeschen@shawkeller.com;
Brown, Andrew L. <abrown@potteranderson.com>; Eric Cohen <eric.cohen@rimonlaw.com>; Michael F. Heafey
<michael.heafey@rimonlaw.com>; arussell@shawkeller.com

Subject: RE: Nielsen/ TVision:

| CAUTION: This message originated outside of Kelley Drye and was sent by: jason.xu@rimonlaw.com

Doug:

TVision does not presently plan to use Re for purposes of this case.

Best,
Jason

From: Lewis, Douglas <DLewis@KelleyDrye.com>

Sent: Thursday, September 7, 2023 5:32 PM

To: Jason Xu <jason.xu@rimonlaw.com>; Schenerman, Jolie <JSchenerman@KelleyDrye.com>

Cc: Nielsen_TVision_team <Nielsen TVision team@KelleyDrye.com>; Palapura, Bindu A.
<bpalapura@potteranderson.com>; Moore, David E. <dmoore@potteranderson.com>; nhoeschen@shawkeller.com;
Brown, Andrew L. <abrown@potteranderson.com>; Eric Cohen <eric.cohen@rimonlaw.com>; Michael F. Heafey
<michael.heafey@rimonlaw.com>; arussell@shawkeller.com

Subject: RE: Nielsen/ TVision:

Jason,

Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 4 of 71 PagelD #: 2232

We disagree that Mr. Sidhu was prepared to testify about a. Moreover, TVision failed to produce
documents relating to a despite their responsiveness to Nielsen’s document requests.

That said, relying on your representation that “is irrelevant to any of the claims and defense in this case,’

if you will represent that TVision will not use (i.e., ee for any

purpose in this case, we will not pursue this discovery issue with the Court. Please let us know.

Kelley Drye & Warren LLP
Tel: (312) 857-7073

From: Jason Xu <jason.xu@rimonlaw.com>

Sent: Wednesday, September 6, 2023 9:03 PM

To: Schenerman, Jolie <JSchenerman@KelleyDrye.com>

Ce: Nielsen_TVision_team <Nielsen TVision team@KelleyDrye.com>; Palapura, Bindu A.
<bpalapura@potteranderson.com>; Moore, David E. <dmoore@potteranderson.com>; nhoeschen@shawkeller.com:;
Brown, Andrew L. <abrown@potteranderson.com>; Eric Cohen <eric.cohen@rimonlaw.com>; Michael F. Heafey
<michael.heafey@rimonlaw.com>; arussell@shawkeller.com

Subject: RE: Nielsen/ TVision:

CAUTION: This message originated outside of Kelley Drye and was sent by: jason.xu@rimonlaw.com

Dear Jolie,

TVision disagrees that Mr. Sidhu was unprepared to testify about [EEN In fact, Mr. Sidhu answered most of
the questions about EEE Thus, TVision will not produce an additional witness on this topic.

Further, as Mr. Sidhu testified, [iii es. Nothing from ii’
TE 2s been es. Thus, Tvision has properly

objected to RFP No. 2 that this is irrelevant to any of the claims and defenses in this case.

Best,
Jason

From: Schenerman, Jolie <JSchenerman@KelleyDrye.com>

Sent: Tuesday, September 5, 2023 4:57 PM

To: Jason Xu <jason.xu@rimonlaw.com>

Cc: Nielsen_TVision_team <Nielsen TVision team@KelleyDrye.com>; Palapura, Bindu A.
<bpalapura@potteranderson.com>; Moore, David E. <dmoore@potteranderson.com>; nhoeschen@shawkeller.com;
Brown, Andrew L. <abrown@potteranderson.com>; Eric Cohen <eric.cohen@rimonlaw.com>; Michael F. Heafey
<michael.heafey@rimonlaw.com>; arussell@shawkeller.com

Subject: Nielsen/ TVision:

Counsel,
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 5 of 71 PagelD #: 2233

In Mr. Liu’s deposition last week, we learned for the first time that [AS
nn Later last week, at Mr. Sidhu’s
deposition, we learned that [rr

Documents regarding ie 2s well as documents relating tc [iis

should have been (but have not
been) produced pursuant to at least Nielsen’s RFP No. 2. Please let us know when we can expect TVision to produce
these documents, keeping in mind the September 11 close of discovery.

Mr. Sidhu was unprepared to testify about {EEE despite the fact that TVision offered him for testimony on

Nielsen’s 30(b)(6) topic nos. 5, 6, and 16. Instead, Mr. Sidhu said that

. Accordingly, please let us know when {i will be available to testify about this topic
pursuant to Nielsen’s 30(b)(6) notice (again, keeping in mind the September 11 close of discovery).

Thank you.

Associate

Kelley Drye & Warren LLP
3 World Trade Center

175 Greenwich Street

New York, NY 10007

Tel: (212) 808-7695

Cell: (917) 913-4193

jschenerman@kelleydrye.com

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KDW-Disclaimer

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EXHIBIT 2
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 7 of 71 PagelD #: 2235

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OCEAN TOMO

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In the United States District Court for the District of Delaware
THE NIELSEN COMPANY (US), LLC
V.
TVISION INSIGHTS, INC.

CASE No, 1:22-CV-00057-C]B

REBUTTAL EXPERT REPORT OF JOANNE JOHNSON

November 21, 2023

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EXHIBIT 3
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 29 of 71 PagelD #: 2257

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE
THE NIELSEN COMPANY (US), LLC,
Plaintiff, C.A. No. 22-057-CJB

HIGHLY CONFIDENTIAL -

)
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v. )
) OUTSIDE COUNSEL ONLY
)
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TVISION INSIGHTS, INC.,

Defendant.

REBUTTAL EXPERT REPORT OF DR, DAVID ANDERSON
REGARDING U.S. PATENT NO. 7.783.889

HIGHLY CONFIDENTIAL, OUTSIDE COUNSEL ONLY
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CONFIDENTIAL, OUTSIDE COUNSEL ONLY
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CONFIDENTIAL, OUTSIDE COUNSEL ONLY
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EXHIBIT 4
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 33 of 71 PagelD #: 2261

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

THE NIELSEN COMPANY (US), LLC,

Plaintiff,
C.A. No. 21-1592-CJB
Vv.
JURY TRIAL DEMANDED
TVISION INSIGHTS, INC.,

Defendant.
THE NIELSEN COMPANY (US), LLC,

Plaintiff,
C.A, No, 22-57-CJB
Vv,
JURY TRIAL DEMANDED
TVISION INSIGHTS, INC.,

Defendant.

THE NIELSEN COMPANY (US), LLC’S FIRST SET OF REQUESTS
FOR THE PRODUCTION OF DOCUMENTS AND THINGS

Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Rules
of the District of Delaware, Plaintiff The Nielsen Company (US), LLC (“Nielsen”) requests that
Defendant TVision Insights, Inc. (““TVision”) produce and make available for inspection and
copying all documents and things requested below, at the offices of Kelley Drye & Warren LLP,
333 West Wacker Drive, Suite 2600, Chicago, Illinois 60606, or at another mutually agreed upon
location, within thirty (30) days of service hereof.

DEFINITIONS & INSTRUCTIONS

l, “889 Patent” refers to U.S, Patent No. 7,783,889.
2. “°189 Patent” refers to U.S. Patent No. 9,020,189.
3. “Audience Measurement Products and Methods” means any products, devices,

systems or methods that perform audience measurement.
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 34 of 71 PagelD #: 2262

REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

l, All Documents concerning the research and development concerning TVision
Audience Counting and the integration of TVision Audience Counting into TVision Audience
Measurement Products and Methods.

2. All Documents concerning the research and development concerning TVision
ACR and the integration of TVision ACR into TVision Audience Measurement Products and
Methods.

3. All Documents concerning the manufacture, production, and/or testing concerning
Audience Counting and TVision Audience Measurement Products and Methods as they relate to
TVision Audience Counting.

4. All Documents concerning the manufacture, production, and/or testing concerning
ACR and TVision Audience Measurement Products and Methods as they relate to TVision ACR.

5, All non-source code Documents that TVision provides or makes available to a
new programmer and/or engineer assigned to work on the TVision Audience Measurement
Products and Methods, TVision Audience Counting, and/or TVision ACR.

6. All non-source code Documents that Defendant provides or makes available to a
new employee assigned to work on the data sets associated with TVision Audience Measurement
Products and Methods, TVision Audience Counting, and/or TVision ACR.

7, All Documents concerning the practice, use, design, operations, technologies,
implementation, functions, or structures concerning the TVision Audience Counting, including
any versions or variations thereof, including without limitation, any engineering notebooks,
laboratory notebooks, test results, log books, memoranda, progress reports, action item lists,

analyses, design reviews, project reports, project history files, drawings, blueprints, sketches,
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 35 of 71 PagelD #: 2263

EXHIBITS
The Nielsen Company (US), LLC v. TVision Insights, Inc.

Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 36 of 71 PagelD #: 2264

Yan Liu 30(b)(6)

Outside Counsel Attorneys’ Eyes Only

8/29/2023
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
x
THE NIELSEN COMPANY (US), LLC,
Flaintiff, : Case Ne,
22-57-CUB
TVISION INSIGHTS, INC.,

Defendant.

*** OUTSIDE COUNSEL ATTORNEYS' EYES ONLY ***

Deposition of TVision Insights, Inc., by and

through its designated representative, YAN LIU
Washington, D.C.

Tuesday, August 29, 2023

6:39 a.m.

Reported by: Matthew Goldstein, RMR, CRR

DIGITAL EVIDENCE GROUP
1730 M Street, NW, Suite 812

Washington, D.C. 20036

(202) 232-0646

Page 3
1 APFEARANCES
é ON BEHALF OF THE PLAINTIFF, THE NIELSEN
3 COMPANY (US), LLC, :
4 DOUGLAS LEWIS, ESQUIRE
STEVEN YOVITS, ES@UIBE
BELLEY DRYE & WARREN, LLP
7 333 West Wacker Drive
8 26th Floor
9 Chicago, Illinois 60606
10 312.857.7073
11
12 ON BEHALF OF THE DEFENDANT, TVISION INSIGHTS,
13 INC. ¢:
14 JASON XU, ESQUIRE
Lo BRIMON PC
16 1990 K Street, NW
Ll? Suite 426
18 Washington, D.C. 20006
19 202.971.9494
20
21 ALSO PRESENT:
22 DANIEL HOLMSTOCR - VIDEOGRAPHER

Page 2

Deposition of YAN LIU, held at:

Page 4

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8/29/2023 The Nielsen Company (US), LLC v. TVision Insights, Inc. Yan Liu 30(b)(6)
Outside Counsel Attorneys’ Eyes Only

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8/29/2023 The Nielsen Company (US), LLC v. TVision Insights, Inc. Yan Liu 30(b)(6)
Outside Counsel Attorneys’ Eyes Only

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Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 40 of 71 PagelD #: 2268

8/31/2023

The Nielsen Company (US), LLC v. TVision Insights, Inc.

Inderbir Sidhu

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THE NIELSEN COMPANY (US), LLC, ; By Mr. Koutsouba
Plaintiff, 4
. Civil Action No.
5 EXHIBITS
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Defendant. 6 SIDHU DEPOSITION EXHIBITS PAGE
TO 7 Exhibit 1 Notice of Deposition of Inderbir 6
THE NIELSEN COMPANY {US}, LLC,
toes 8 Sidhu
Plaintiff,
We : Civil Action No. 9 Exhibit 2 Plaintiff The Nielsen Company 6
TVISION INSIGHTS, INC., 22-57-CJB 10 {US}, LLC's Notice Under Rule
Defendant.
- 2, 11 30 (b} (6) to TV¥ision
lz Exhibit 3 Plaintiff The Nielsen Company 6
HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY . .
13 (0S), LLC's First Supplemental
Videotaped deposition of Inderbir Sidhu
in his individual capacity and as 30(b) (6) witness L4 Notice Under Rule 30(b) (6) te
for TVision Insights, Ine. LS TVision
Boston, Massachusetts
Lé Exhibit 4 U.S. Patent 7, 763,869 6
Auguat 31, 2023
9:03 a.m. L? Exhibit TVision Insights, Ine.'s
La Responses and Objections to
Reported By: Alan H. Brock, ROR, CRR
1% Plaintiff The Nielsen Company
DIGITAL EVIDENCE GROUP 20 (US}, LLC's Notice Under Rule
1730 M Street, NW, Suite 812 at 30 tb) (6) to T¥ision
Washington, D.c. 20036
{202) 232-0646 22
Page 2 Page 4
APPEARANCES | 1 es
2 ON BEHALF OF PLAINTIFF: es =
3 CONSTANTINE KOUTSOUBAS, ESQ. ee
4 STEVEN YOVITS, ESQ. I ma
5 KELLEY DRYE & WARREN LLP es
6 333 West Wacker Drive a ee
7 Chicago, Illinois 60606 7 ee
8 312.857.7070 8 a
9 ckoutsoubas@kelleydrye.com 9 i
10 syovits@kelleydrye.com as a
11 11 ee
12 ON BEHALF OF DEFENDANT: a
13 MICHAEL F. HEAFEY, ESQ. 13 ee
14 RINON LAW B.C. EE
15 800 Oak Grove Avenue, Suite 250 bb DTT
16 Menlo Park, California 94025 16 ee
1? 650.641.4433 17 ma
18 michael.heafey@rimonlaw.com °° Di TT
19 0 is 2
20 20 a
21 ALSO PRESENT: 21
22 Adam Cerro, Videographer 22

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1 (Pages 1 to 4)

202-232-0646
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 41 of 71 PagelD #: 2269

8/31/2023 The Nielsen Company (US), LLC v. TVision Insights, Inc. Inderbir Sidhu
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8/31/2023 The Nielsen Company (US), LLC v. TVision Insights, Inc. Inderbir Sidhu
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(Pages 133 to 136)
202-232-0646
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 44 of 71 PagelD #: 2272

EXHIBIT 7
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

THE NIELSEN COMPANY (US), LLC,
Plaintiff,
C.A. No. 21-1592-CJB
Vv.
JURY TRIAL DEMANDED
TVISION INSIGHTS, INC.,
Defendant.

THE NIELSEN COMPANY (US), LLC,

Plaintiff,
C.A, No, 22-57-CJB
Vv,
JURY TRIAL DEMANDED
TVISION INSIGHTS, INC.,

Defendant.

PLAINTIFF THE NIELSEN COMPANY (US), LLC’S
NOTICE UNDER RULE 30(B)(6) TO TVISION

Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, Plaintiff, The Nielsen
Company (US), LLC (“Nielsen”), through its undersigned counsel, will take the oral deposition of
Defendant TVision Insights, Inc. (“TVision”) concerning the Matters for Examination set forth in
Schedule A.

Pursuant to Federal Rules of Civil Procedure 30(b)(6) TVision must designate one or more
officers, directors, managing agents, or other persons who consent to testify on its behalf as to the
identified matters, The persons designated must testify about information known or reasonably
available to TVision. The deposition will take place on June 21, 2023, commencing at 9:00 am ET,
at the law offices of Potter Anderson & Corroon LLP located at 1313 North Market Street, 6th

Floor, in Wilmington, Delaware 19801, or at some other mutually agreeable time and place.
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The deposition will be recorded via stenographic, audio, and/or videotaped means for the
purpose of discovery and/or used as evidence and/or any other purposes permitted by the Federal

Rules of Civil Procedure and the Local Rules of this Court, including use at trial.

POTTER ANDERSON & CORROON LLP

OF COUNSEL:

By: /s/ David E. Moore
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3 World Trade Center Attorneys for Plaintiff The Nielsen Company
175 Greenwich Street (US), LLC

New York, NY 10007
Tel: (212) 808-7800

Dated: May 18, 2023
10817560 / 14944.00004
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SCHEDULE A

MATTERS FOR EXAMINATION

DEFINITIONS

The following definitions shall apply throughout the requests, regardless of whether upper-
or lower-case letters are used:

1, “Nielsen” means Plaintiff The Nielsen Company (US), LLC.

2, “TVision” means Defendant TVision Insights Inc. and its predecessors and any
other person or entity acting on behalf of or under control of Defendant TVision Insights Inc,

3, “°889 Patent” means U.S. Patent No. 7,783,889.

4. “’189 Patent” means U.S. Patent No. 9,020,189.

5. “The Patents-in-Suit” or “Nielsen’s Patents-in-suit” or “Asserted Patents” mean
the “889 patent and the ‘189 patent, collectively.

6. “Asserted Claims” means any claim in the Asserted Patents that Nielsen has
accused or later accuses TVision of infringing.

7. “Nielsen Related Patents” means all U.S. and foreign patents and applications
relating in whole or in part to the Nielsen Patents-in-Suit, including but not limited to any patents
and applications to which the Nielsen Patents-in-Suit claim priority (including provisional
applications), and any continuations, continuations-in-part, divisionals, reissues, and
reexaminations, any patents or applications that share a common disclosure, in whole or in part,
with the Nielsen Patents-in-Suit or any Nielsen Related Patent,

8, “TVision Audience Measurement Products and Methods” mean any products,
devices, systems or methods TVision makes, has made, licenses, purchases, practices, has

practiced, uses, has used, sells, offers for sale, distributes, or imports, that performs audience
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measurement, including, but not limited to, audience measurement devices TVision provides to
households that are to be associated with various household televisions or other devices playing
media, This specifically includes, but is not limited to, the “Kinect-based” and “Logitech-based”
devices that Nielsen specifically identified in its July 8, 2022 disclosure. This definition shall
include, but not be limited to, any versions or variations of the product, device, system, or
method identified. This definition shall also include, but not be limited to, any data or other
information that is sold, licensed, or based on information retrieved from the devices, systems, or
methods listed above, including but not limited to through TVision’s SAAS platform.

9, “TVision Audience Counting” means any products, devices, systems or methods
TVision makes, has made, practices, has practiced, uses, has used, purchases, licenses, sells,
offers for sale, distributes, or imports that counts, or enables the counting of, the number of
individuals in front of a particular TVision Audience Measurement Product and/or Method.
“TVision Audience Counting” shall include, but not be limited to, the aspects of TVision
Audience Measurement Products and Methods that relate to the counting, or the enabling of the
counting, of the number of individuals in front of a particular television or other device
displaying media. TVision Audience Counting Products and Methods includes, but is not limited

to, the products and methods described by TVision’s President and COO, Luke McGuinness, in

https://www.adexchanger.com/tv-and-video/tvision-insights-ratings-only-tell-part-of-the-story/

(Compl., Ex. D.) The definition includes, but is not limited to, data or other information products
that result from or is associated with the devices, systems, or methods listed above.
10... “Automatic Content Recognition” or “ACR” mean the automatic identification or

recognition of media content.
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11,  “TVision ACR” means any products, devices, systems or methods TVision
makes, has made, practices, has practiced, uses, has used, purchases, licenses, sells, offers for
sale, distributes, or imports that perform or accomplish the automatic identification or
recognition of media content or other signal or information. “TVision ACR” shall include, but
not be limited to, the aspects of TVision Audience Measurement Products and Methods that
relate to the automatic identification or recognition of media content or other signal or
information.

12. “Prior Art” includes any documents, event, thing, or subject matter of the type set
forth in or relevant under 35 U.S.C. § 102 and/or 35 U.S.C. § 103.

13. | “Communication(s)” means any oral, written, or other contact between two or
more persons or entities by which any information or knowledge of any nature is transmitted or
conveyed or attempted to be transmitted or conveyed, including letters, memoranda, telegrams,
telefaxes, telecopies, telexes or emails, text messages, face-to-face meetings, telephone
conversations, voicemails, answering machine messages, and telephonic notes.

14. “Document” has the full meaning ascribed to it in Rule 34 of the Federal Rules of
Civil Procedure, including the original (and every copy of the original which differs in any way
from it) of all written, recorded, or graphic matter in any and all media however produced or
reproduced. Media include papers, films, magnetic and optical storage devices, and all other
methods for the expression or retention of information. Documents include any writing, survey,
evidence of indebtedness, memorandum, letter, correspondence, telex, telefax, telegram, email,
note, minute, agreement, contract, interoffice or intraoffice communication, interim draft, final
draft, bulletin, circular, procedure, pamphlet, photograph, business plan or study, notice,

summary, bill, invoice, purchase order, diagram, plan, drawing, specification, diary, desk or
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pocket calendar, written record or note of telephone conversation or telephone message, chart,
entry, computer printout, computer disk, tape recording, representation, record, and report, as
well as any other tangible item or thing of written, readable, or visual material of any kind or
character, whether written, handwritten, typed, photocopied, photostatted, printed, duplicated,
reproduced, or recorded, and whether electronic, electrical, or mechanical in nature.

15. “Entity” means any natural person, corporation, company, partnership, sole
proprietorship, firm, board, joint venture, association, organization, trust, governmental body,
agency, authority, commission, or any other juristic person, business unit, or collective
organization, and any legal, governmental, organizational, or political subdivision thereof.

16. “And” and “or” shall be construed conjunctively and disjunctively so as to require
the broadest meaning possible.

17. “Any” and “all” shall each be construed to mean “each and every,” so as to
acquire the broadest meaning possible,

18. The singular of any word shall include the plural, and the plural shall include the
singular,

19. “Person” is defined as any natural person or any business, legal or governmental
entity or association.

20. “Including” and every variant thereof shall be construed to mean “including
without limitation.”

21. Pronouns shall be construed to refer to the masculine, feminine, or neutral gender
as in each case is most inclusive.

22. “Relating to,” “Relate to,” or “Concerning” when referring to any given subject

matter, means and includes reflecting, alluding to, mentioning, regarding, discussing, bearing
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upon, commenting on, constituting, pertaining to, demonstrating, describing, depicting, referring
to, summarizing, containing, embodying, showing, comprising, evidencing, refuting,
contradicting and supporting.

DEPOSITION TOPICS

Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, and in accordance with
this Notice, TVision is requested to designate one or more officers, directors, agents, employees,
and/or other persons who can testify on its behalf concerning the following topics:

I, The formation, organization, and structure of TVision and any corporate entities
affiliated with or relating to TVision, including an identification of any officers, directors, and/or
employees thereof.

2. TVision’s organizational structure(s) for the engineering, design, research,
development, manufacture, assembly, distribution, marketing, sales, and promotion of TVision
Audience Measurement Products and Methods.

3, The identification of any individuals or entities with a direct or indirect interest in
TVision and the amount of such ownership interest.

4, TVision’s annual reports, quarterly reports, required financial filings, and other
financial statements, including statements of operations, income statements, balance sheets, and
statements of changes in retained earnings and notes thereto, whether prepared for internal or
external purposes, from January 1, 2015 to the present.

5. The design, development, and manufacture of TVision Audience Measurement

Products and Methods, including the role and/or involvement of each person, TVision, or third

party.
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6. The function, structure, operation, design, monetization and use of any TVision
Audience Measurement Products and Methods, including the differences between each such
products or methods,

7. Product manuals, instructions, training material, or other product literature for

TVision Audience Measurement Products and Methods.

8. The source code for any of the TVision Audience Measurement Products and
Methods.
9, Any comparison of any TVision Audience Measurement Products and Methods to

another product, including Nielsen’s products,

10. The data provided by the TVision Audience Measurement Products and Methods,
including but not limited to licensing and/or sales of such data.

11. Any processing of data provided by the TVision Audience Measurement Products
and Methods.

12. TVision's SaaS platform end product, including dashboards such as for "CTV
Analytics," "Linear TV Insights," "TV Planning & Measurement" and "Ad Scoreboard."

13. TVision’s activities with respect to TVision Audience Measurement Products and
Methods, including monetizing, selling, offering for sale, using, making, importing, marketing,
advertising, distributing, transferring, or soliciting agents or distributors.

14. Each instance in which any TVision Audience Measurement Products and
Method has been the subject of a demonstration, exhibition, trade show, or industry convention
within the United States.

15. — Any effort taken by T Vision to avoid infringement of any claim of the Patents-in-

Suit including the development of any prototypes, testing, experimentation, or other analysis.

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16. Any change or planned change to TVision’s designs or products based on
TVision’s knowledge of the Patents-in-Suit and the reasons for any such changes, including for
each instance the date, the circumstances, and the identity of the Persons involved.

17. TVision’s knowledge of the Patents-in-Suit, including but not limited to, the date
when TVision first became aware of the Patents-in-Suit, the person(s) who became aware of the
Patents-in-Suit, and any action taken by TVision to avoid infringement of the Patents-in-Suit.

18. When and the circumstances under which TVision first became aware of any
alleged infringement of each Asserted Patent and/or Related Patent.

19, Any analysis, evaluation, testing, inspection, reverse engineering, investigation,
report, or opinion with respect to infringement or non-infringement of any Asserted Patent and/or
Related Patent.

20. Any analysis, evaluation, testing, inspection, reverse engineering, investigation,
report, or opinion with respect to validity or invalidity of any Asserted Patent and/or related
Patent.

21. Any analysis, evaluation, testing, inspection, reverse engineering, investigation,
report, or opinion with respect to the enforceability or unenforceability of any Asserted Patent
and/or Related Patent.

22. Any advice or opinions (verbal or in writing) that TVision received regarding the
scope, validity, enforceability, and/or infringement of the Patents-in-Suit, including the relevant
date(s), individuals who provided the opinion(s), individual(s) who received the opinion(s), and

the substance of the opinion(s).
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23. | TVision’s analyses or opinions of counsel (to the extent TVision will rely upon
them) relating to the patentability, validity, enforceability, scope, or infringement of any of the
Patents-in-Suit and/or Related Patents,

24. | Communications between TVision and any third party regarding any of the
Patents-in-Suit or Related Patents, this case, or the subject matter of this case.

25. TVision procedures, policies, guidelines, or recommended courses of action
relating to patents and/or licenses for patents owned by any entity other than TVision.

26. — The factual bases for each affirmative defense TVision asserts.

27. The factual bases for any contention by TVision that any of the Asserted Claims
of the Patents-in-Suit are not directly or indirectly infringed by TVision’s activities with respect
to any TVision Audience Measurement Products and Methods, either literally or under the
doctrine of equivalents.

28. The factual bases for any contention that any Asserted Claim of the Patents-in-
Suit is not entitled to claim priority to the date(s) of conception identified by Nielsen.

29. The factual bases for any contention that any Asserted Claim of the Patents-in-
Suit is invalid, including the identification of all Prior Art, if any, that TVision contends renders
any claim of the invalid.

30. The factual bases for any contention that TVision is entitled to recover its
attorneys’ fees (in part or whole) in this case.

31. The alleged correspondence between any Prior Art reference(s) that TVision
contends renders any claim of the Patents-in-Suit invalid and each element of each such claim of

the Patents-in-Suit.
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32. Any alleged motivation to combine any Prior Art that TVision contends renders
any claim of the Patents-in-Suit invalid for obviousness,

33. The level of ordinary skill in the art that TVision contends is applicable to each of
the Patents-in-Suit.

34. All facts that support or refute TVision’s contention that objective indicia of non-
obviousness do not support a finding of non-obviousness, including but not limited to, facts
underlying simultaneous invention, long-felt but unmet need, commercial success, copying,
failure of others, skepticism, and industry praise.

35. The factual bases for any contention by TVision that any Asserted Claim of the
Patents-in-Suit is unenforceable.

36. Any TVision Patent that TVision contends covers the TVision Product.

37. Any license or agreement offered, considered, negotiated, or agreed to by TVision
regarding any product or technology concerning the technology of the Niclsen Patents-in-Suit,
TVision Audience Measurement Products and Methods, TVision Audience Counting, TVision
ACR, or any products and methods that perform audience measurement.

38. Communications with third parties concerning products and methods that perform
audience measurement.

39, Sales, offers of sale, licensing and/or provision to any third party of data from the
TVision Audience Measurement Products and Methods or data or other information products or
services associated with the TVision Audience Measurement Products and Methods,

40, The monthly, quarterly, and annual sales, in dollars and units, of the TVision

Audience Measurement Products and Methods and of data or other information products or

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services associated with the TVision Audience Measurement Products and Methods from
January 1, 2015 to the present, and any projected and/or anticipated profits,

41, Any revenue, royalty, payment or other consideration of any kind for all licenses,
sales agreements and/or other contracts for data generated by and/or associated with TVision
Audience Measurement Products or Methods, including, by way of non-limiting example,
relating to TVision’s SaaS platform end product.

42. Any fees or royalties owed to, paid by, or paid to TVision in connection with any
TVision Audience Measurement Products or Methods or with data or other information products
or services associated with the TVision Audience Measurement Products and Methods, including
intellectual property licenses.

43. TVision’s methodology for calculating revenue and gross and net profits before
taxes (including the ability to identify labor, material, variances, selling and administrative costs,
and the components that make up those costs) for the TVision Audience Measurement Products
and Methods, data or other information products or services associated with TVision Audience
Measurement Products and Methods, or any products, methods, or system that use or incorporate
TVision Audience Counting and/or TVision ACR.

44, __ Business plans, strategic plans, long-range plans, budgets, forecasts, projections,
financial plans, and management reports concerning the TVision Audience Measurement
Products and Methods or data or other information services associated with the TVision
Audience Measurement Products and Methods.

45, Sales, marketing, and/or promotional materials sent by or on behalf of T Vision, or

presented by TVision, to potential or actual customers concerning the sale or license of any
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TVision Audience Measurement Products and Methods or any data or other information products
or services associated with the TVision Audience Measurement Products and Methods.

46. — TVision’s pricing strategies and pricing of the TVision Audience Measurement
Products and Methods and of data other information products or services associated with the
TVision Audience Measurement Products and Methods.

47. | Competition, market segments, market share, or market revenue (whether actual
or projected) concerning products and methods that perform audience measurement, including
TVision Audience Measurement Products and Methods and third party products and methods,

48, The market for the TVision Audience Measurement Products and Methods, for
data or other information products or services associated with the TVision Audience
Measurement Products and Methods, and for any products and methods that perform audience
measurement, including TVision's SaaS platform end product.

49, Any effect on Nielsen’s pricing, revenue, or profits relating to TVision Audience
Measurement Products and Methods or any data or other information products or services
associated with the TVision Audience Measurement Products and Methods,

50. TVision’s relationship with iSpot, including any sale or licensing of data to iSpot.

51. TVision’s relationship with VideoAmp, including any sale or licensing of data to

VideoAmp.

52. TVision’s relationship with TVSquared, including any sale or licensing of data to
TVSquared.

53. The effect that having an audience counting feature or an ACR feature has on the

advantages, quality, potential, or effectiveness of the sales, market share, the overall market,

and/or demand for the TVision Audience Measurement Products and Methods, data or other
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information products or services associated with the TVision Audience Measurement Products
and Methods and Methods, or any other product, system or method that contains or uses
audience counting or ACR.

54. TVision’s calculation of damages if Nielsen prevails, including lost profits and/or
reasonable royalties.

55. The identity of each person with knowledge relating to each of the subject matters
for testimony set forth herein.

56. The identity of all persons, Documents, and things consulted, reviewed,
communicated, or relied upon in preparation for testifying about each of the subject matter of the
topics forth herein.

57. | TVision’s past and present procedures and policies for generating, maintaining,
retaining, and disposing of Documents and things (whether maintained in paper form or by other
storage methods, such as microfilm or electronically), including Documents that refer to Nielsen
and the Patents-in-Suit.

58.  TVision’s efforts to collect Documents in response to the discovery requests
served in this case.

59.  TVision’s responses to the discovery requests served in this case, including each

interrogatory, request for production, and request for admission.
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EXHIBIT 8
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 60 of 71 PagelD #: 2288

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IN THE UNITED STATES DISTRICT COURT 1 APPEARANCES:
FOR THE DISTRICT OF DELAWARE
3 ON BEHALF OF THE PLAINTIFF:
THE NIELSEN COMPANY (US), LLC, } 4 KELLEY DRYE & WARREN LLP
Plaintife, } 5 BY: DOUGLAS LEWIS, ESQ.
, No. 21-1592-CJB
6 133 West Wacker Drive
[VISION INSIGHTS, INC., ,
Chicage, Tllineis 60606
Defendant. }
, 312.857.7070
THE NIELSEN COMPANY (US), LLC, } 8 dlewis¢kelleydrye .com
Plaintifé, } a
va. } No. 22-57-CoB 10 ON BEHALF OF THE DEFENDANT:
TVISION INSIGHTS, INC., } 11 RIMON LAW
Defendant. } 12 BY: ERIC C. COHEN, ESO.

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P.O. Box BILLS

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at 333 West Wacker Drive, Chicago, inoig, - ’
1 W Wa r Drd Chieag Tllined 16 984.960.2860
before Donna M. Kazaitis, IL-CSR, at , : ns

L eric.cohen@rimonlaw.com
J:12 a.m. on Wednesday, January 24, 2024.

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DIGITAL EVIDENCE GROUP

1730 M Street, NW, Suite 412 20 ALSO PRESENT:
| ry - -
Washington, D.C. 20036 21 Joseph Salinas (Legal Videographer)

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EXHIBIT 9
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 66 of 71 PagelD #: 2294

Wood, Andrew

From: Eric Cohen <eric.cohen@rimonlaw.com>
Sent: Tuesday, November 28, 2023 2:22 PM
To: Lewis, Douglas; '‘Palapura, Bindu A.'; ‘Brown, Andrew L.'; dmoore@potteranderson.com;

jshaw@shawkeller.com; arussell@shawkeller.com; nhoeschen@shawkeller.com; Michael
F. Heafey; Jason Xu
Ce: Nielsen_TVision_team

Subject: Re: TVision use of | in expert reports.

CAUTION: This message originated outside of Kelley Drye and was sent by: eric.cohen@rimonlaw.com

Doug:
TVision has not used [EEE for any purpose in this case and does not intend to.

You cite paragraphs 102-103 of the Anderson report. Neither of those paragraphs refers to EEN. The same is
true of paragraph 167 of Ms. Johnson’s report, which you also cite.

Given the foregoing, TVision will not agree to strike the paragraphs from the expert reports listed in your email. Thus,
there is no need to extend the time for Nielsen to file its next round of expert reports.

Eric Cohen

Eric Cohen | Special Counsel

RIMON PC

Office: +1 984.960.2860 | Direct: +1 984.960.2860 | eric.cohen@rimonilaw.com
P.O. Box B113, 150 Fayetteville St., Suite 2800, Raleigh, NC 27601-2960

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From: Lewis, Douglas <DLewis@KelleyDrye.com>

Date: Tuesday, November 28, 2023 at 12:28 PM

To: 'Palapura, Bindu A.' <bpalapura@potteranderson.com>, 'Brown, Andrew L.'
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Michael F. Heafey <michael.heafey@rimonlaw.com>, Jason Xu <jason.xu@rimonlaw.com>

Cc: Nielsen_TVision_team <Nielsen_TVision_team@KelleyDrye.com>

Subject: TVision use of iii in expert reports.

Counsel,
Case 1:22-cv-00057-CJB Document 173-1 Filed 03/05/24 Page 67 of 71 PagelD #: 2295

In Dr. Anderson’s report, he opine iii

. See e.g., Anderson Non-Infringement Report, 4] 102-103. Ms. Johnson also
opined based on a conversation with Mr. Sidhu. See e.g., Johnson Report, 4] 167.

Mr. Sidhu’s (and others’) statements to Dr. Anderson are presumably based (at very least in part) on EE. This
is a violation of the parties’ agreement that “TVision ... will not use [EEE for any purpose in this matter.” See
Xu Sept. 10, 2023 email.

Please let us know by tomorrow, November 29, 2023, whether TVision will (1) agree to strike Paragraphs 102-103 from
Dr. Anderson’s report and Paragraphs 11, 149, 150, 167-168, 173, 232, 236, 270 (and associated figures) and Exhibits
3.0, 6.0, 6.1, 6.2, 18.0, 18.3 from Ms. Johnson’s report, and all other paragraphs from all expert reports that discuss
TVision’s development of its own ACR technology; and (2) refrain from any other use of information relating to
Re in this case. If not, TVision will need to provide
immediate discovery about EE, including a full document production and a R. 30(b)(6) witness. In addition,
the due date for Nielsen’s expert reports (but not TVision’s) will need to be extended.

Special Counsel

Kelley Drye & Warren LLP

333 West Wacker Drive, 26th Floor
Chicago, IL 60606

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EXHIBIT 10
~~ Case 1:22-¢4Q98579GIF 1DPEUMENITarhhehil ed OSAKA oRen26 oFAlgeLReueID #: 2297

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SCO

IN THE UNITED STATES DISTRICT COURT %
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA 5.

JANE E. FISHER, Executor of the
Estate of Bradley Fisher, Deceased

~ PLAINTIFF :
VS. : 3:CV-99-1976
(CHIEF JUDGE VANASKIE)
MARQUIP, INC., WILL-PEMCO, INC.,
Successor-in-Interest to Clark Aiken: FILE
Matik, Inc., a/k/a Pemco, Inc. : D
DEFENDANTS: SCRANTON
SEP 26 2002
Vz
DEPUTY CLERK

September 26, 2002

THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

On February 20, 2002, plaintiff moved to impose sanctions against defendant
Marquip, Inc.. Plaintiff seeks sanctions for three separate alleged discovery violations.

The first alleged violation concerns the failure to disclose the identity of a witness in
Marquip’s initial disclosures under Fed. R. Civ. P. 26(a)(1)(A). Plaintiff claims that Marquip
intentionally failed to disclose that the person with the most knowledge concerning the
design, construction and sale of the splicer machine at issue in this products liability case

was Richard Thomas. Marquip has responded by asserting that Mr. Thomas had left the

employ of Marquip some four years before the occurrence of the accident giving rise to this
| litigation. Marquip further asserts that it did identify as a knowledgeable witness Karl W.

Marschke, who had been responsible for design engineering from the time that Mr. Thomas

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left the company up to the time of the accident and beyond. Marquip has further
represented that Karl W. Marschke investigated the incident and inspected the equipment
involved. Finally, Marquip represents that Mr. Thomas did not provide much useful
information at a deposition taken after the sanctions motion was filed. Plaintiff did not file a
reply brief controverting Marquip’s assertions. Under these circumstances, sanctions for
the failure to disclose Richard Thomas as a person who had information relevant to this
matter does not warrant sanctions,

The second alleged discovery violation concerned the failure of two subpoenaed
witnesses to appear for their depositions when counsel for plaintiff was in Wisconsin in
December of 2001. Plaintiff claims that Marquip’s lawyer intentionally failed to disclose that
the two witnesses would not be available until after plaintiff's counsel had arrived in
Wisconsin. Marquip’s counsel responded that he was not aware that the two witnesses
would not be available until after plaintiffs counsel had arrived in Wisconsin. Furthermore,
as he points out, plaintiff's counsel was able to take three depositions while in Wisconsin in
December of 2001. Moreover, there is no record that plaintiff's counsel sought to enforce
the subpoenas that had been duly served and that had required the two witnesses in
question to appear in December of 2001. Under these circumstances, sanctions for the
failure to produce the witnesses in question will not be imposed.

The final ground on which sanctions are sought pertains to contention interrogatories

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that exceed the numerical limits imposed by Fed. R. Civ. P. 33. Plaintiff points out that the
Joint Case Management Plan filed in this case stated that the parties had agreed that there
would be no “prophylactic limitations” with respect to the number of interrogatories either
party may serve upon the other. Marquip contends that its filing of bankruptcy subsequent
to the Joint Case Management conference relieves it of the agreement entered into in the
Joint Case Management Plan. Marquip asserts no authority for this proposition.
Agreements entered into by counsel for parties are plainly enforceable. In this case,
counsel for all parties agreed that interrogatories would not be objectionable on the ground
| that some numerical limit had been exceeded. Marquip remains bound by this agreement,

and must answer the contention interrogatories without regard to the fact that the numerical
limit in Fed. R. Civ. P. 33 was exceeded.

ACCORDINGLY, IT IS HEREBY ORDERED THAT:

1, Marquip shall respond to the contention interrogatory served on November 16,
2001, without objection on the ground that numerical limits imposed by Fed. R. Civ. P. 33
have been exceeded.

2. In all other respects, plaintiff's motion for sanctions (Dkt. Entry 81) is DENIED.

Thomas I. Vanaskie, Chief Judge
Middle District of Pennsylvania

